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                      EXHIBIT 3
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                         JAMES v. HAMPTON, ET AL.

                   HON. VALDEMAR L. WASHINGTON




                                     January 17, 2018



                                       Prepared for you by




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                    IN THE DISTRICT COURT OF THE UNITED STATES            1   ADAM T. RATLIFF
                      FOR THE EASTERN DISTRICT OF MICHIGAN                2   Warner Norcross & Judd LLP
                           SOUTHERN DIVISION                              3   2000 Town Center
                                                                          4   Suite 2700
             SYLVIA JAMES,                                                5   Southfield, Michigan 48075
                        Plaintiff,                                        6   248.784.5154
                    vs.           Case No. 2:12-cv-10273                  7   aratliff@wnj.com
                                 Hon. Paul D. Borman                      8       Appearing on behalf of the Defendant Fischer.
                             Magistrate Judge R. Steven Whalen            9
             HILLIARD HAMPTON, et al.,                                   10   MELISSA D. WOJNAR-RAYCRAFT
                        Defendants.                                      11   The Mike Cox Law Firm
             __________________________________                          12   17430 Laurel Park Drive, North
                                                                         13   Suite 120 East
                                                                         14   Livonia, Michigan 48152
                 The Deposition of HON. VALDEMAR L. WASHINGTON           15   734.591.4002
                 Taken at 718 Beach Street,                              16   mraycraft@mikecoxlaw.com
                 Flint, Michigan,                                        17       Appearing on behalf of the Defendant Anderson.
                 Commencing at 9:54 a.m.,                                18
                 Wednesday, January 17, 2018,                            19
                 Before Kathryn L. Janes, CSR-3442, RMR, RPR.            20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25


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         2                                                                2
         3   JOSHUA A. FISHER                                             3     WITNESS                  PAGE
         4   Morganroth & Morganroth, P.L.L.C.                            4     HON. VALDEMAR L. WASHINGTON
         5   344 North Old Woodward Avenue                                5
         6   Suite 200                                                    6     EXAMINATION
         7   Birmingham, Michigan 48009                                   7     BY MR. FISHER:                         5
         8   248.864.4000                                                 8     EXAMINATION
         9   jfisher@morganrothlaw.com                                    9     BY MS. WOJNAR-RAYCRAFT:                          42
        10      Appearing on behalf of the Plaintiff.                    10     RE-EXAMINATION
        11                                                               11     BY MR. FISHER:                         55
        12   DOUGLAS G. POWE                                             12     RE-EXAMINATION
        13   Michigan Attorney General                                   13     BY MS. WOJNAR-RAYCRAFT:                          57
        14   525 Ottawa Street                                           14     RE-EXAMINATION
        15   5th Floor                                                   15     BY MR. FISHER:                         58
        16   Lansing, Michigan 48933                                     16
        17   517.335.7193                                                17                     EXHIBITS
        18   powed1@michigan.gov                                         18
        19      Appearing on behalf of the Defendants, JTC, Washington   19     EXHIBIT                         PAGE
        20      and Green.                                               20     (Exhibits attached to transcript.)
        21                                                               21
        22                                                               22     DEPOSITION EXHIBIT 1                        11
        23                                                               23     DEPOSITION EXHIBIT 2                        17
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         1   Flint, Michigan                                                   1   Q. And are you a member of the State Bar of Michigan?
         2   Wednesday, January 17, 2018                                       2   A. I am.
         3   9:54 a.m.                                                         3   Q. Are you a member of any other state bars?
         4                                                                     4   A. No.
         5                HON. VALDEMAR L. WASHINGTON,                         5   Q. Any federal bars?
         6        was thereupon called as a witness herein, and after          6   A. Yes. Eastern District of Michigan and Western
         7        having first been duly sworn to testify to the truth,        7      Michigan.
         8        the whole truth and nothing but the truth, was               8   Q. Have you ever been the subject of any professional
         9        examined and testified as follows:                           9      discipline?
        10                      EXAMINATION                                   10   A. No.
        11   BY   MR. FISHER:                                                 11   Q. Are you a member of any professional associations?
        12   Q.    Judge Washington, my name's Josh Fisher. I'm one of        12   A. I don't think so.
        13        the attorneys for the plaintiff in this matter.             13   Q. The American Bar Association?
        14                Let the record show this is the deposition          14   A. Nope.
        15        of Judge Valdemar Washington taken pursuant to notice       15   Q. Will you describe your employment history beginning
        16        under the Federal Rules of Civil Procedure.                 16      from undergraduate college forward or I suppose if you
        17                Judge, I'll be asking you a series of               17      weren't employed in law school, maybe from law school.
        18        questions and your answers are given under oath; do         18   A. I can give you the whole thing. I was an RA for
        19        you understand that?                                        19      Wonders Hall at Michigan State for which I received
        20   A.    Yes.                                                       20      tuition and room and board -- excuse me, I received
        21   Q.    You have to answer verbally so your answer can be          21      room and board. When I graduated, I went to Ann
        22        recorded by the court reporter; do you understand?          22      Arbor. I worked as a lifeguard at an outdoor pool and
        23   A.    Yes.                                                       23      night watchman until school started. When school
        24   Q.    You must answer -- if you don't understand a question,     24      started I had a job in the law library and I also
        25        just say so and I'll try to clarify. And you have to        25      worked indoors as a lifeguard at an indoor pool. That


                                                                     Page 6                                                          Page 8
        1         let me finish my entire question before you answer           1     was through the two-and-a-half years of law school.
        2         just to ensure that the court reporter can take              2            I left the University of Michigan and began
        3         everything down. She can't record two people talking         3     working in March of 1977 for the Baker Law Firm in Bay
        4         at once.                                                     4     City. I stayed there through the end of 1977 when I
        5    A. Would you like me to acknowledge that I understand             5     moved to Flint. I became employed immediately upon
        6         that?                                                        6     moving to Flint by the Accounting Aid Society of
        7    Q. I have a feeling that you understood.                          7     Greater Flint. I also started a small private
        8    A. I do.                                                          8     practice at the same time. I stayed with the
        9    Q. If I interrupt you or you haven't completed your               9     Accounting Aid Society until June of 1978, and then I
       10         answer, just let me know and I'll permit you to             10     left the Accounting Aid Society and began practicing
       11         finish. And of course, if you need a break at any           11     full time.
       12         time, just let me know and as long as I can finish a        12            I continued as a private practitioner until
       13         question, I imagine we can be out of here pretty            13     April the 14th of 1986, at which time I was appointed
       14         quickly.                                                    14     to the Genesee County Circuit bench by Governor Jim
       15    A. Fair enough.                                                  15     Blanchard. I spent ten years as a circuit court judge
       16    Q. What is your full name?                                       16     from 1986 until it was July 1st of 1996.
       17    A. Valdemar Luther Washington.                                   17            I then resumed private practice for two
       18    Q. And your date of birth?                                       18     years when I was engaged as the special master for
       19    A. June 21, 1952.                                                19     Detroit Edison Company. They had several employee
       20    Q. And if we could go through just your formal education         20     class action lawsuits that were coming together in the
       21         after high school, starting with the earliest school.       21     consent judgment and they needed someone to kind of
       22    A. I went to Michigan State University from 1970 to '74.         22     run things and implement human resources programs for
       23         I graduated with a bachelor's of arts in                    23     the next five years. The assignment lasted an
       24         communication. I went to the University of Michigan         24     additional year because there was work that should
       25         Law School. I graduated in December of 1976.                25     have been done by the company that wasn't completed in




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        1      the initial five-year term. They didn't want an              1       you had received that letter?
        2      extension of the consent judgment, so they asked me if       2   A. I don't know if I had or not. But I know that what
        3      I would be willing to do an additional year on a             3      was in the letter to me reflected what I was -- what I
        4      contractual basis which I agreed to.                         4      understood to be my charge as the interim chief judge.
        5             At the end of that time, I continued a                5   Q. I'm going to introduce this as Exhibit 1.
        6      private practice and I moved back to Flint roughly,          6                MARKED FOR IDENTIFICATION:
        7      oh, I think it was July of 2006 where I continued            7                DEPOSITION EXHIBIT 1
        8      again the private practice. In I think it was                8                10:02 a.m.
        9      December of 2007, I became employed by the State of          9   BY MR. FISHER:
       10      Michigan, Department of Treasury as deputy state            10   Q. Sir, I'm handing you what's marked as Exhibit 1 which
       11      treasurer for local government services, that position      11       is the April 15, 2011 letter from Mr. Schmucker to
       12      lasted until the end of 2010, December 31st.                12       yourself. Do you see that this letter, Judge, lists
       13             I then was asked by the State Court                  13       it looks like seven matters that appear to have come
       14      Administrator's Office to become a visiting judge for       14       to the Supreme Court Administrator Offices' attention
       15      the 22nd District Court in Inkster and I began that         15       regarding the 22nd District Court?
       16      position or those duties on April the 14th of 2011,         16   A. Yes.
       17      and those duties lasted to the end of 2011. I then          17   Q. We'll just hold off on this stuff for just a moment.
       18      began private practice again in April of 2012, which I      18       But when you arrived at the 22nd District Court, did
       19      am continuing today.                                        19       you speak with Ms. Pamela Anderson?
       20             I also along the way did some alternative            20   A. I did.
       21      dispute resolution assignments under the company that       21   Q. And what was the nature and substance of the
       22      I formed in 1996 by the name of Settlemate,                 22       discussion?
       23      S-E-T-T-L-E-M-A-T-E.                                        23   A. What am I supposed to do now that I'm here.
       24   Q. I don't think I've ever heard anybody be so detailed        24   Q. And did she -- what did she tell you?
       25      and remember everything so well, that's impressive.         25   A. Well, she mentioned that there were a number of


                                                                 Page 10                                                               Page 12
        1              Do you know how you were selected to be the          1      visiting judges that were coming through and helping
        2      interim chief judge of the 22nd District Court?              2      with the docket so that I was not expected to handle
        3   A. I don't know for certain, but I know that one of the         3      any in-courtroom matters and that was fine with me. I
        4      requirements if you're going to be appointed as a            4      had never been a district court judge. I didn't
        5      visiting judge is that you can't have a private              5      practice regularly in district court and felt a little
        6      practice. I didn't at that time. And I was also              6      bit like a fish out of water in terms of the
        7      African-American and I think that may have had               7      procedures or the manner of going through things in
        8      something to do with my selection as well.                   8      district court. I was able to handle the
        9   Q. And who informed you that you were going to be taking        9      administrative matters, the items that were set forth
       10      that position?                                              10      in Exhibit 1.
       11   A. I believe I initially got a call from Deborah Green         11   Q. And you mentioned it was visiting judges that were
       12      and she and I had had some contact when I was on the        12      actually handling the court matters?
       13      circuit court bench so I knew her by name, but I            13   A. Correct.
       14      didn't recall her specifically. I then got a                14   Q. And is it true that in July of 2011, you ended up
       15      follow-up call from Chief Justice Robert Young who          15      taking over handling court proceedings?
       16      specifically asked me if I would consider taking the        16   A. The July 4th weekend. We couldn't get anybody to come
       17      assignment and I agreed to.                                 17      and we had business to attend to and so I put the robe
       18   Q. Do you recall an April 15, 2011 letter from Chad            18      back on.
       19      Schmucker confirming your appointment?                      19   Q. Was there any visiting judges that were -- okay.
       20   A. Yes. I mean, I remember it, I don't remember the            20   A. Nobody was willing to work the July 4th -- I forget
       21      details of it, but yes, I did get a letter confirming       21      what day the 4th fell on, but I knew that we had
       22      my appointment.                                             22      business that had to be conducted during that holiday
       23   Q. Do you know who Mr. Schmucker is?                           23      period.
       24   A. He was at that time state court administrator.              24   Q. And I'm referencing this April 15th letter from
       25   Q. Had you had previously spoken to Mr. Schmucker before       25      Mr. Schmucker. He asked you to attempt to locate




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        1      certain documents; is that correct?                        1      expenditures?
        2   A. Yes, item number 4, any records or recollections to        2   A. I didn't find any records that would explain a request
        3      justify the additional expenditures of $50 per diem        3      for $50 a day per diem for seven days when the
        4      for seven days when the conference was four days.          4      conference was for four days. So the answer to the
        5   Q. That was for the drug court?                               5      question is no, there were no records to support this
        6   A. Yes, National Drug Court Conference in Boston in 2010.     6      limited assignment.
        7   Q. Do you see -- were you finished?                           7   Q. Did you find anything else regarding the drug
        8   A. I'm just looking through the rest of the items.            8      conference and the trip?
        9   Q. Sure, oh, take your time, please.                          9   A. This one specifically in 2010?
       10   A. That's the only reference that I see in Exhibit 1 to      10   Q. Uh-huh.
       11      reviewing documents.                                      11   A. Not that I recall.
       12   Q. Do you see item 2, that Mr. Schmucker had been asking     12   Q. Were there other years that you had looked into or
       13      you to attempt to locate certain 1099s for employees?     13      found items for?
       14   A. Yes.                                                      14   A. Yes.
       15   Q. Do you recall doing that?                                 15   Q. And did you provide those to SCAO?
       16   A. I did.                                                    16   A. Yes.
       17   Q. Did you end up finding them?                              17   Q. If I say SCAO, you understand State Court
       18   A. No. There weren't any.                                    18      Administrators?
       19   Q. And as far as the items that Mr. Schmucker asked you      19   A. I understand, yes.
       20      to look into, do you know why you were asked to           20   Q. Where did you find those items?
       21      investigate these items?                                  21   A. In the stack of travel documents that I got from
       22   A. No.                                                       22      Ms. Anderson.
       23   Q. Wasn't the JTC conducting an investigation into Sylvia    23   Q. Do you know where Ms. Anderson got those from?
       24      James at the time?                                        24   A. I think those were records that she kept as the court
       25   A. They may well have been, but I didn't know that when I    25      administrator.


                                                               Page 14                                                              Page 16
        1      talked to Judge Schmucker and/or got this letter.          1   Q. And Judge James had an office at the 22nd District
        2   Q. Did anyone at the JTC ask you to investigate anything?     2      Court; is that correct?
        3   A. No.                                                        3   A. Yes.
        4   Q. As far as the 1099s go, did you ask anybody to assist      4   Q. Was the office locked when you arrived?
        5       you looking for those?                                    5   A. It was.
        6   A. I think I asked Ms. Anderson, were there any 1099s         6   Q. Do you know who had the keys to the office?
        7      that were issued to the court employees who were           7   A. I do.
        8      working in the Community Service Program.                  8   Q. Who was that?
        9   Q. And I think you testified that you did not find any?       9   A. Ms. Anderson.
       10   A. That is correct.                                          10   Q. Did she end up giving them to you?
       11   Q. And back to I think it was item 4 for the expenditures    11   A. She gave me a key, yes, so that I could open the door.
       12       for the -- regarding the drug court conference, did      12   Q. Did she keep a key for herself?
       13       you try to look for those records?                       13   A. I don't know.
       14   A. I think I --                                              14   Q. And you used that space as your office; is that right?
       15   Q. For the expenditures?                                     15   A. Yes, I did.
       16   A. I think I asked, in fact, I know I asked Ms. Anderson     16   Q. There was a safe in the office; is that correct?
       17      for any travel related records that she had relating      17   A. I now know there was a safe. I didn't know there was
       18      to Judge James and/or the -- I think it was just          18      a safe when I started using the office.
       19      travel related documents, yeah.                           19   Q. Okay. And since you just testified that you weren't
       20   Q. And it sounds like you had likely asked Ms. Anderson      20      aware -- well, strike that.
       21       to assist you with that, did you ask anybody else --     21               At some point while you were working there,
       22   A. No.                                                       22      did you become aware that there was a safe?
       23   Q. -- to assist you with that?                               23   A. I did.
       24               And you didn't end up finding any records        24   Q. Are you aware that the safe was locked at the time
       25       regarding that drug conference, regarding                25      that you got there at the court?




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        1   A. I was. You have to understand -- you're calling it a        1   A. Yes.
        2      safe, the outward appearance was that it was a filing       2   Q. Do you know who was present at the meeting?
        3      cabinet. When I tested the door when I got there, it        3   A. Well, it wasn't a meeting meeting, it was the -- that
        4      was locked.                                                 4      was the date that was agreed upon for Judge James to
        5   Q. Uh-huh. Did it -- if I refer to it as a safe, you'll        5      come back to the court to have items, personal items
        6      understand what I mean?                                     6      removed at her direction. So Judge James was there,
        7   A. Yep.                                                        7      Mr. Thomas was there, his assistant, Vie, and I can
        8   Q. And let's just --                                           8      never pronounce her last name so I'm not going to try.
        9               MR FISHER: I might as well get this out            9      Attorney McPhail was there, Deb Green was there, I was
       10      here and introduce, it might be the last exhibit. Can      10      there, and there were two men who were movers, but I
       11      you mark this as Exhibit 2. There's two pages.             11      didn't ever get introduced to them to know their
       12               MARKED FOR IDENTIFICATION:                        12      names. So when you asked me if there was a meeting,
       13               DEPOSITION EXHIBIT 2                              13      yes, we met, but there wasn't a discussion meeting
       14               10:11 a.m.                                        14      between Ms. Green --
       15   BY MR. FISHER:                                                15   Q. It wasn't sitting down at a table?
       16   Q. I'm going to hand you what is marked as Exhibit 2, it      16   A. That's correct.
       17      looks like the second page I guess is just a sticker       17   Q. And when were the other instances that you
       18      from likely the JTC hearing, it says Respondent's          18      communicated with Ms. Green after you had taken the
       19      Exhibit 2. I'm more concerned with the first page.         19      position as chief judge?
       20      Does that look familiar?                                   20   A. I think on a regular basis I was reporting to her
       21   A. No.                                                        21      because she was the -- that region, I don't remember
       22   Q. It does not?                                               22      if it was Region 1, but she was a Region 1
       23   A. No.                                                        23      administrator for the State Court Administrative
       24   Q. Does this look like -- it does not look anything like      24      Office, and I was required to report on a regular
       25      what you saw in Sylvia James' office?                      25      basis what was going on in the 22nd District Court and



                                                                Page 18                                                          Page 20
        1   A. What's in Exhibit 2 shows a handle and a combination        1      I don't remember now if it was weekly or monthly or
        2      lock on the front door. I never saw anything that           2      biweekly, but I know that there were regular reports
        3      looked like that.                                           3      that I sent to Ms. Green and I think I copied Judge
        4   Q. Okay.                                                       4      Schmucker as well.
        5   A. There was -- there was an outward covering, for lack        5   Q. So those weren't just orally, you were preparing
        6      of a better word, that looked like a normal file            6      something that was on paper --
        7      cabinet that had a handle on it that had a keyhole for      7   A. Yes.
        8      the lock. What I -- what I'm familiar with was the          8   Q. -- and being sent to her?
        9      exterior. I don't ever remember seeing what's in            9   A. Yes.
       10      Exhibit 2.                                                 10   Q. What were the substance of what you would be putting
       11   Q. Okay. Do you know if anybody at the 22nd District          11      in the reports, if you can recall?
       12      Court had a key to this cabinet that you're referring      12   A. Well, the progress on the items set forth in
       13      to?                                                        13      Exhibit 1, the administrative and/or procedural
       14   A. I don't.                                                   14      aspects of running the court when we were without
       15   Q. You mentioned that you had spoken with Deb Green, do       15      visiting judges, the issues as relates to former
       16      you know what her job was at the time?                     16      Magistrate Bowdish, the issue related to the Community
       17   A. Yes.                                                       17      Service van, the issues related to the Community
       18   Q. You had testified that you had discussions with Deb        18      Service Program, the issues related to travel expenses
       19      Green prior to the time you took the position as           19      for which Judge James had been reimbursed by the City
       20      acting chief judge of the 22nd District Court.             20      of Inkster in advance of her trip. From my view, she
       21   A. Yes.                                                       21      had used frequent flyer miles to buy the ticket,
       22   Q. Did you have any discussions with Ms. Green after you      22      paying only the tax of I think $7.50, and then not
       23      became chief judge?                                        23      reimbursing the City of Inkster after the trip was
       24   A. Oh, yeah, I'm sure I did.                                  24      concluded for the amount that had been advanced to her
       25   Q. Do you recall meeting with her on July 14, 2011?           25      for the plane ticket.




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        1            There was the issue of the internal                     1   Q. Oh, so what you can see in Exhibit 2, that was
        2      calendar, which I never heard of before, and I                2      revealed?
        3      commented to Deb Green and Judge Schmucker about my           3   A. On July 14th.
        4      thoughts about what it meant, but I didn't have anyone        4   Q. Once you're saying a file cabinet or something was
        5      to substantiate that, it was just my view.                    5      opened?
        6            And then the progress we were making, I                 6   A. Yes.
        7      think one of the things that we -- yeah, the audit            7   Q. I see. Did you take any steps to ensure that Judge
        8      recommendations, number 1, there were 33 audit                8      James' safe wouldn't be disturbed while you were
        9      recommendations from 2006 that had not been acted             9      there?
       10      upon. And I kept them apprised as to our progress in         10   A. I didn't know there was a safe there. I kept asking
       11      getting through those audit recommendations and by           11      the judge when I spoke to her in April as well as when
       12      November the 4th or 5th of 2011, we had gotten through       12      I spoke to Attorney McPhail, tell me what you want?
       13      all 33 of them. So those are the kinds of things that        13      What items here can we get to you, please tell me.
       14      I would report to Deb Green and Judge Schmucker about        14      And I never once heard, well, I have a personal safe
       15      on a regular basis.                                          15      there.
       16   Q. And I know you indicated that there were written, but        16   Q. Right. And relatedly, you had a telephone
       17      did you ever communicate about these types of issues         17      conversation with Sylvia James on April 21, 2011; is
       18      by phone with them?                                          18      that correct?
       19   A. With Deb Green, not with Judge Schmucker, but yes.           19   A. I think that sounds right, yeah.
       20   Q. What about in person?                                        20   Q. And she was asking to come to the court to pick up her
       21   A. I don't remember any in-person meetings other than the       21      check and her belongings; is that right?
       22      one on the 14th. There may have been, I just don't           22   A. That's correct. And actually it was a little more
       23      recall at this time.                                         23      involved than that, she told me that she had the
       24   Q. And was anybody else involved on discussions over the        24      permission of the chief justice of Michigan Supreme
       25      telephone that you may have had with Ms. Green?              25      Court to come to the building and pick up her check


                                                                  Page 22                                                           Page 24
        1   A. Not that I can recall, no.                                    1      and her belongings and I told her that I had not heard
        2   Q. And the reports that you were sending, you stated were        2      that, and when I checked with the State Court
        3      to Ms. Green and were copied to Mr. Schmucker, was            3      Administrative Offices, they said that that was not
        4      anybody else privy to those, that you're aware of?            4      true.
        5   A. I don't think so, because of my assignment as the             5   Q. And you'd told her that you'd get her the check, but
        6      interim chief judge. It was my view that the only             6      that she wasn't to come into the court; is that right?
        7      people that had any right to the information existed          7   A. I told her I would get her check and any other items
        8      in the State Court Administrator's Office.                    8      that she could identify that she wanted, yes, I did
        9   Q. Were you aware that Ms. Green and Mr. Schmucker agreed        9      tell her that.
       10      that Sylvia James' safe wouldn't be disturbed without        10   Q. And also that she wasn't to come to the court?
       11      her being there, and again, when I state safe, I'm           11   A. I absolutely told her that, yeah.
       12      referring to what we were talking about earlier?             12   Q. Right. And did you have her paycheck delivered to
       13   A. No, I didn't know anything about that. I didn't know         13      her?
       14      there was a safe until July the 14th when Mr. Thomas         14   A. As far as I know, it was delivered to her. I gave it
       15      pointed out to me that the outer doors had been              15      to her niece, Nicole James, and she then I think
       16      jimmied and that the safe was inside of the outer            16      delivered it to her house.
       17      doors.                                                       17   Q. And so when you first came to the 22nd District Court,
       18   Q. And you just mentioned the safe was inside the outer         18      you obviously entered Sylvia James' office?
       19      doors, so was something, you're saying there was             19   A. I did.
       20      something that resembled a safe once that was opened?        20   Q. Was anybody else with you?
       21   A. Yeah. This picture here, the only part that I                21   A. I don't think they were, no.
       22      remember seeing was the dial. I don't remember seeing        22   Q. You don't recall that Pamela Anderson was with you
       23      the handle, but the dial that's in Exhibit 2, I saw          23      when you were going inside of Judge James' office?
       24      that when Mr. Thomas showed it to me the day,                24   A. She may have been, yeah. I know I got the key from
       25      July 14th of 2011.                                           25      her. I don't recall now whether or not she gave me




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        1      the key and pointed me to the office or gave me the             1      There may have been the desire to get certain
        2      key and accompanied me to the office. I think it was            2      documents to help Judge James in terms of her defense
        3      probably the latter, that she accompanied me because I          3      of the Complaint that had been filed against her. I
        4      would not have necessarily known where it was.                  4      know that the next day, the 15th, I got I think it was
        5   Q. Do you recall going into her office on April 14, 2011?          5      a 25 point Request for Production of Documents from
        6   A. I do.                                                           6      Mr. Thomas, and so I assumed that that came out of
        7   Q. And what did you do on that date?                               7      that meeting on the 14th, but I couldn't swear to
        8   A. Tried to find a place to sit and do some work.                  8      that.
        9   Q. Because that was going to be used as your office,               9   Q. Did you direct Nicole James to clean up the chambers
       10      right?                                                         10      area?
       11   A. It was. And it was pretty packed full of stuff.                11   A. I asked her if she would be willing to. She was both
       12   Q. And you'd mentioned earlier, you didn't notice the             12      the judge's niece and her secretary when I arrived on
       13      safe?                                                          13      the 14th of April. I couldn't find a place to sit and
       14   A. The safe was in the bathroom and I couldn't find the           14      work, and I said I need someplace to do my work here.
       15      bathroom. I had to ask the court officer, is there a           15      And I asked her -- and if I remember correctly, the
       16      bathroom in here? And he showed me where the bathroom          16      credenza that was immediately behind the desk was
       17      was.                                                           17      literally piled high with legal pads and one thing or
       18   Q. And you recall that Sylvia James had mentioned that            18      another, and I asked Nicole if she wouldn't mind, the
       19      she had thought somebody tampered with her safe; is            19      items that were clearly her aunt's personal items,
       20      that right?                                                    20      boxing them up and getting them so -- getting them
       21   A. I heard that accusation from her lawyer. I don't know          21      together so we could get them to her. And she did
       22      that I heard it directly from Judge James.                     22      come to me I think it was later that afternoon or
       23   Q. Did you ever end up hearing that from Deb Green?               23      maybe the next day and said I've run out of boxes, and
       24   A. You mean before the 14th of July of 2011?                      24      we then used garbage bags for her to put the items in
       25   Q. Yes.                                                           25      and we put those garbage bags in the furnace room area



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        1   A. That was the only day that any discussion about a safe          1      and the boxes I know were placed in a station wagon at
        2      came to my attention.                                           2      Nicole's direction and presumably delivered to Judge
        3   Q. Because certainly you wouldn't have heard anything              3      James.
        4       before that date?                                              4   Q. You left it to Nicole James' discretion as to what
        5   A. That is correct.                                                5      would be packed up for Judge James?
        6   Q. How about after, did Deb Green say anything to you              6   A. Yes, I did.
        7       about Judge James' concern that somebody had tampered          7   Q. Did you ever ask Nicole James to break into the safe?
        8       with her safe?                                                 8   A. No. I didn't know there was a safe there.
        9   A. No. Not that I recall. The only follow-up -- the                9   Q. Right. I think I know the answer, but you didn't ask
       10      only follow-up that I recall related to the safe was           10      anybody else to break into the safe?
       11      when I spoke to Lieutenant Smith of the Inkster Police         11   A. No.
       12      Department in the alley behind the courthouse as I was         12   Q. You didn't ever express to anyone that you had an idea
       13      leaving for the day and he said a complaint had been           13      as to how to get into the safe?
       14      filed about the damage or tampering with Judge James'          14   A. I didn't know the safe was there.
       15      safe. And I told him what I knew and that was the              15   Q. Did you remove any documents from Judge James'
       16      last I heard of anything other than in this lawsuit.           16      chambers?
       17   Q. Was there any -- and I'm referring to the meeting              17   A. You mean other than files?
       18       with -- I guess we'll call it a meeting, on July 14,          18   Q. I guess anything.
       19       2011, with Mr. Thomas and Ms. McPhail, you had                19   A. I know that I -- I know that there were legal pads and
       20       mentioned that the purpose was Judge James was coming         20      when you say removed them, I would have moved them. I
       21       to pick up some of her belongings.                            21      didn't take anything out of the building, no.
       22   A. Yes.                                                           22   Q. So it would be fair to say that you didn't destroy any
       23   Q. Was there any other purpose to the meeting, to your            23      documents?
       24       knowledge?                                                    24   A. That is correct.
       25   A. I don't know if there was an additional purpose.               25   Q. Did you ever direct anybody to shred any documents?




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        1   A. No.                                                         1   Q. So there -- were there legal pads with writing on it
        2   Q. Are you aware that documents were shredded, though?         2      that Nicole James didn't pack up that remained at the
        3   A. No.                                                         3      court?
        4   Q. Were you present for Ms. Anderson's testimony at the        4   A. There may have been, I can't recall at this point. I
        5      JTC hearings?                                               5      don't know when I would have seen those legal pads, I
        6   A. No. Well, I shouldn't say I wasn't present. I may           6      know for sure when I walked in, I saw legal pads and
        7      have been there in the building, but there was a            7      things stacked high, and that's when I knew I couldn't
        8      sequestration order, so I wasn't in the courtroom when      8      work in a space like that and I needed it cleared out.
        9      she was giving her testimony.                               9   Q. That was before you had Nicole James come and pack
       10   Q. Did you ever receive the transcript of that hearing        10      things up?
       11      testimony?                                                 11   A. That's correct, yes.
       12   A. Not from Ms. Anderson's testimony, from my testimony,      12   Q. Were there legal pads remaining after Nicole James had
       13      yes, but not hers.                                         13      packed up the boxes for Sylvia James?
       14   Q. Were you present for any of the testimony during any       14               MR. POWE: I object, it's been asked and
       15      of those JTC hearings?                                     15      answered.
       16   A. None other than my own.                                    16               Go ahead.
       17   Q. So the sequester applied to everything? So it was          17   BY MR. FISHER:
       18      only -- you only were there when it was your own day,      18   Q. I don't think I asked about whether legal pads were
       19      there was two days?                                        19      remaining.
       20   A. Actually I was there for the day I was told to be          20   A. I don't recall when I saw the legal pads other than
       21      there, but whoever was ahead of me was going long and      21      right there on April the 14th of 2011.
       22      so I didn't testify the first day. I came back the         22   Q. Okay. So that was before Nicole James had picked
       23      next day and then I think you're right, I think I          23      everything up?
       24      testified for a day and a half or two days.                24   A. That's correct.
       25   Q. Have you reviewed any other transcripts other than         25   Q. Okay. Because my question was just -- because you had


                                                                Page 30                                                            Page 32
        1       your own --                                                1      mentioned that -- you had mentioned that the legal
        2   A. No.                                                         2      pads were stacked up?
        3   Q. -- from the JTC hearings?                                   3   A. Yes.
        4   A. I have not.                                                 4   Q. And it made me realize that that would have been
        5   Q. When I say the JTC hearings, you understand I'm             5      before it was cleaned up?
        6       talking about with Judge James?                            6   A. Yes.
        7   A. The master hearing, yes. No, I've only reviewed my          7   Q. So I was just wondering, things that were remaining
        8      own transcript because it's been several years.             8      after?
        9   Q. Did you ever direct Ms. Anderson to remove any              9   A. I think I had clean space after.
       10       documents from Judge James' safe?                         10   Q. Okay.
       11   A. No. I didn't know there was a safe there.                  11   A. I know that I had an area to work in on the credenza
       12   Q. Back to Nicole James packing up items for Judge James,     12      and on the desk after Nicole James did the work that
       13       do you know what happened to any documents that Nicole    13      she agreed to do.
       14       James didn't pack up for Sylvia James?                    14   Q. Okay. And to the July 14, 2011 date when Sylvia James
       15   A. You mean what was left after she finished her work?        15      came to pick up her materials, you said Ms. McPhail
       16      Anything that was left, in my view, should have been       16      was with her?
       17      related to court business or was related to court          17   A. She was.
       18      business, and so I don't exactly know what you're          18   Q. And do you know Ms. McPhail?
       19      asking me, but I didn't see any documents that I can       19   A. I do.
       20      recall at this point. What I remember seeing were a        20   Q. And you knew that she was Sylvia James' counsel in
       21      lot of legal pads.                                         21      connection with the JTC proceedings; is that right?
       22   Q. The legal pads --                                          22   A. Well, what I knew at that point I believe was that
       23   A. That had script, that had, you know, writing on them       23      she, meaning Attorney McPhail, had done some work for,
       24      but didn't pertain to, you know, case files as far as      24      as far as I could tell, both the 22nd District Court
       25      I could tell.                                              25      as well as Judge James, so it didn't surprise me that




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        1      she was there. I also knew that Judge James was being      1      been made towards gaining trust.
        2      represented by Mr. Thomas, so both of them were there.     2   Q. Okay. And when Judge James did come and pick up the
        3      It didn't surprise me.                                     3      material on July 14th, and by the way, when I say July
        4   Q. Do you recall on June 2, 2011, that Ms. McPhail had        4      14, you understand I mean 2011?
        5      requested that she come and pick up Judge James'           5   A. I do.
        6      records so she could -- to use those records to defend     6   Q. There's another July 14th date here.
        7      herself in the JTC action?                                 7               That she took the bags and boxes that
        8   A. I know that we had some discussions in June, yes.          8      Nicole James had packed up for her?
        9   Q. Do you recall it being an e-mail discussion?               9   A. She took some of them. I noticed after we were
       10   A. Yes.                                                      10      finished on that day, July the 14th of 2011, that the
       11   Q. Do you know why Sylvia James wasn't permitted to pick     11      items that were in the bags that Nicole James had
       12      up the material until July 14th?                          12      placed in the furnace room were still there, and I
       13              MR. POWE: Object to the form of the               13      remember talking to Mr. Thomas saying, "Hey, wait a
       14      question.                                                 14      minute, what's going on? You wanted these items,
       15              Go ahead, if you can.                             15      they're here for you, you didn't take them. Please
       16   A. I have a pretty good idea.                                16      make arrangements to come get them." And I think he
       17   BY MR. FISHER:                                               17      did after that, but I can't swear to that today.
       18   Q. And why is that?                                          18   Q. Do you know if she took any other things from the
       19   A. Because when I got to the court, it was clear to me       19      chambers?
       20      that Judge James in her method of managing the court      20   A. I don't. I wasn't in the room when she was directing
       21      ruled with an iron fist. There were clerks who had        21      the movers to take this and take that. I know she
       22      been there as employees for as long as Judge James had    22      took her two fur coats that I placed in the closet for
       23      been on the bench, 22 years, who had never been to her    23      her and that I know there was some other personal
       24      chambers. They were -- they made it clear to me that      24      items, but I don't know exactly what was what. The
       25      they were forbidden to go to her chambers and so they     25      room was too small to have everybody in there.


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        1      were afraid to come back to the hallway to come to her     1   Q. And the safe that we've been discussing, she took
        2      chambers. I said to them, I tried to make it clear to      2      that?
        3      them, that my style is open-door, you know, you've got     3   A. As far as I know, that was taken that day. I don't
        4      something to talk to me about, we've got work here to      4      have a clear memory of it, but I know that the movers
        5      do, come back and ask me. And I could not for the          5      had at least one dolly and I may have seen them take
        6      life of me get people to walk down the hallway, they       6      it out, so yeah.
        7      would stand at the end of hallway and say, "Judge,         7   Q. And just to clarify, you testified earlier that the
        8      I've got a question for you, can you help me with          8      first time you noticed that there was a safe was after
        9      this?" To this day or to the last day that I was           9      the door had been opened?
       10      there, Bennett, the court officer, would not come to      10   A. Correct, the outer door.
       11      my chambers, he would stand in the hallway and say,       11   Q. What date was that --
       12      "Judge, we're ready for you."                             12   A. I don't know.
       13             So that was the -- that was the overall            13   Q. -- if you recall?
       14      impression that I drew both in terms of my just           14   A. That was the problem, when I spoke with Lieutenant
       15      looking at how things were being run as well as after     15      Smith, he says when did you first notice it was askew?
       16      my employee interviews. And I spoke with every            16      And I said I don't remember. I didn't make any
       17      employee on Thursday and Friday after my arrival. And     17      connection other than it was now ajar or jimmied open,
       18      I got their personal assessment of things, they were      18      and it hadn't been before.
       19      afraid of Judge James. And one of the things that I       19   Q. When was the first time that you noticed the outer,
       20      knew we had to improve upon if we were ever to get        20      the fact that there was what you said was a file
       21      through the audit findings was morale. And so my          21      cabinet?
       22      assessment was, and it was shared I think by SCAO, was    22   A. That I noticed it, that there was file cabinet?
       23      that if Judge James was permitted to come back to the     23   Q. Right.
       24      courthouse, they would be fearful of reprisals,           24   A. First day I found the bathroom. It was very apparent
       25      retaliation and I would lose any progress that had        25      that this was a cabinet, as I said, a file cabinet




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        1      with a board on top of it, that had a coffee maker            1   Q. Right, I apologize.
        2      and, you know, personal items.                                2   A. July 14th was the first time I was aware that that
        3   Q. Was the file cabinet not locked at the time that you          3      file cabinet contained a safe and as far as I knew,
        4      noticed it?                                                   4      certainly not by my doing, it had not been opened.
        5   A. No, it was locked. Because that's why I said I tested         5   Q. And the outer door, you'd say that it looked like it
        6      the handle, wanting to know what this file cabinet was        6      had been jimmied?
        7      doing in the judge's bathroom and it was locked.              7   A. Yes.
        8   Q. What kind of lock was on that door?                           8   Q. And you don't know who did that?
        9   A. I don't know the brand name, but it was a key lock            9   A. I do not.
       10      that goes into the handle and presumably you have to         10   Q. But since you knew it was like that by July 14, 2011,
       11      put the key in and unlock it and then you can turn the       11      it had to have happened before then?
       12      handle and the doors would open.                             12   A. Agreed.
       13   Q. And you didn't see a padlock?                                13   Q. Prior to July 14, 2011, Judge James and her counsel
       14   A. No.                                                          14      didn't have any access to the chambers; isn't that
       15   Q. Did you see a padlock when it was eventually -- when         15      correct?
       16      that door was eventually opened? Is that correct?            16   A. Yes, that is correct.
       17   A. No, I never saw a padlock.                                   17   Q. And you'd been acting as the chief judge from the
       18   Q. In the exhibit that's marked as Exhibit 2 --                 18      beginning date was April 14, 2011?
       19   A. Yeah.                                                        19   A. That's correct.
       20   Q. -- that's the view of it after the door had been             20   Q. Through July 14, 2011 and thereafter?
       21      jimmied open?                                                21   A. Through the end of the year.
       22   A. What I noticed when I saw that the door was askew was        22   Q. All the way to the end of the year was your last day?
       23      that there was a space and there was another door. I         23   A. December 31st or whatever the last business day was
       24      looked inside and I could see a portion of the dial.         24      before the end of the year.
       25      I didn't open the doors, I didn't go any further, not        25   Q. Was that bathroom locked as well?


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        1       my business. Did I see this whole view in Exhibit 2?         1   A. You mean when I got there?
        2       No. All I saw was, as I said, the steel door and a           2   Q. Yeah.
        3       portion of the dial. And that's when I realized that         3   A. When I discovered it?
        4       there was more to this file cabinet than I thought           4   Q. Uh-huh.
        5       initially.                                                   5   A. No.
        6   Q. And just so I can understand, what had happened was           6   Q. During the period you served as chief judge, was the
        7       you said askew, so it was only jimmied open partially?       7      bathroom your private bathroom?
        8   A. Oh, yeah.                                                     8   A. Yes.
        9   Q. Okay. So the door wasn't completely open?                     9   Q. Was anybody else allowed to use it?
       10   A. No.                                                          10   A. No.
       11   Q. Okay. By the time it was removed on July 14, 2011,           11   Q. While Judge James was placed on administrative leave
       12       had the door been fully opened by that time or was it       12      and you were serving as chief judge, did you provide
       13       the same?                                                   13      any material to the JTC?
       14   A. Not by me, no. It was the same -- that's what called         14   A. Other than what I've -- directly to them, no.
       15       Mr. Thomas' attention to it, I believe, because he saw      15      Anything I would have provided to anyone would have
       16       that the outer door was askew and he said when did          16      been to the State Court Administrative Office.
       17       that happen? I said I don't know.                           17   Q. And you're presuming maybe that they were giving it to
       18   Q. And you don't know whether the safe had been opened          18      the JTC?
       19       prior to June 2, 2011, do you?                              19   A. I made no presumptions, all I know, I was required to
       20   A. June 2nd?                                                    20      report and I reported.
       21   Q. Uh-huh.                                                      21   Q. And you testified at the JTC hearings you had
       22   A. You mean July 14th?                                          22      mentioned earlier?
       23   Q. I'm sorry.                                                   23   A. I did.
       24   A. June 2nd is the date Attorney McPhail and I had              24   Q. And was your testimony true and correct in all
       25       conversation.                                               25      respects?




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        1   A. As best I can recall. With the one exception of why           1   A. No.
        2      we had to wait until July the 14th, I was mistaken            2   Q. Okay. And what was your working relationship like
        3      when I said that it was because Deb Green could only          3      with Ms. Anderson?
        4      be there and therefore we had to start at 5:00 and            4   A. It was excellent.
        5      then be there for only one hour when, in fact, I had          5   Q. Okay. And did you ever request that Ms. Anderson
        6      committed to a writing that it was because I had an           6      provide you with documents?
        7      hour-and-a-half commute back to Flint.                        7   A. Travel documents, yes.
        8   Q. And what did you do to prepare for this deposition            8   Q. The travel documents, okay. Any other documents?
        9      today?                                                        9   A. Not that I can recall.
       10   A. Reviewed my transcript of my JTC testimony and I spoke       10   Q. Okay. And when you were just starting as the interim
       11      with counsel.                                                11      court -- as the interim judge, was Ms. Anderson
       12   Q. When you say transcript, you're referring to both the        12      helpful to you?
       13      days of testimony; is that correct, the entire?              13   A. Very much so, yes.
       14   A. Well, the direct examination and cross-examination,          14   Q. Okay. And did Ms. Anderson follow your directions?
       15      that's what I'm referring to.                                15   A. She did.
       16   Q. Have you reviewed any transcripts of other depositions       16   Q. Okay. And what was Judge James' chambers like when
       17      in this particular case?                                     17      you first got there?
       18   A. No.                                                          18   A. A hoarder's delight is I believe how I described it at
       19   Q. Have you had any other conversations about this matter       19      the JTC hearing.
       20      other than with counsel that we haven't discussed?           20   Q. And when you say that, I know what image pops in my
       21   A. No. Unless you count my wife.                                21      head, but can you describe it a little bit?
       22   Q. That might be privileged too.                                22   A. There were dolls, there were clearly personal items
       23   A. It is privileged.                                            23      that were everywhere in that 12 by 12 room that I had
       24               MR. FISHER: I don't have any further                24      never seen a chambers that looked like that. And I've
       25      questions on direct, at least.                               25      been in a lot of judges' chambers over my career.


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        1                  MR. RATLIFF: I don't have any questions.          1   Q. Because it had a lot of personal belongings?
        2                  MS. WOJNAR-RAYCRAFT: I do, but I'd like to        2   A. Yes.
        3         take a restroom break.                                     3   Q. As opposed to court business?
        4                  MR. FISHER: Sure.                                 4   A. That is correct.
        5                  MR. RATLIFF: And cross off some that              5   Q. Okay. And I believe you testified that you didn't
        6         you've already covered.                                    6      know that there was a restroom that was attached to
        7                  MR. FISHER: Sure, go ahead, take your             7      the chambers?
        8         time.                                                      8   A. I thought that there should be because again, all the
        9                  (Recess taken at 10:42 a.m.)                      9      chambers that I've been in, each judge has their own
       10                  (Back on the record at 10:49 a.m.)               10      individual restroom. I actually had to ask Court
       11                       EXAMINATION                                 11      Officer Brown, is there a restroom in here? And he
       12    BY   MS. WOJNAR-RAYCRAFT:                                      12      showed me where it was and then I knew there was a
       13    Q.    Again, I'm Melissa Raycraft, we represent the City of    13      restroom and I used it.
       14         Inkster and Defendant Pam Anderson in this matter, so     14   Q. Why couldn't you tell that there was a restroom?
       15         I've got some follow-up questions based on that. When     15   A. There were wall hangings, there was I think a
       16         you, I believe you testified when you first got to        16      calendar, there were items that obscured the handle
       17         court, you met with Pam Anderson?                         17      which would have clued me that there was a door and
       18    A.    Yes.                                                     18      that's probably where the restroom was. I just drew a
       19    Q.    And you had conversations with Ms. Anderson about        19      blank, I couldn't find it.
       20         court business?                                           20   Q. So you couldn't even see that there was a door?
       21    A.    I did.                                                   21   A. That's correct.
       22    Q.    And other than what you've already testified to today,   22   Q. Okay. And this would be the restroom where the file
       23         is there any other topics you discussed with her?         23      cabinet/safe was?
       24    A.    You mean on that first day?                              24   A. That's correct.
       25    Q.    Yes.                                                     25   Q. Okay. Was there any point that you asked Ms. Anderson




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        1      to shred old court documents --                              1   Q. Okay. Then I believe you testified that in April you
        2   A. No.                                                          2      had a phone call with Judge James?
        3   Q. -- from the office?                                          3   A. Correct.
        4   A. No.                                                          4   Q. Correct?
        5   Q. Okay. And you testified earlier that Nicole James,           5   A. I assumed it was Judge James, although I'd never
        6      who's also Judge James' niece, boxed up and bagged up        6      spoken with her and I don't think she identified
        7      some documents for Judge James?                              7      herself, but she kept saying I want to come to the
        8   A. Items.                                                       8      courthouse and get my stuff, I've got permission from
        9   Q. Items?                                                       9      the chief justice to come get my stuff. And I made an
       10   A. I don't know what she bagged up because I didn't stand      10      assumptive presumption that that was Judge James.
       11      there and watch her, I just said that I need space to       11   Q. Okay. On that phone call with who was probably Judge
       12      operate and it's clear that Judge James has some items      12      James, did Judge James tell you about the safe in the
       13      in here, would you be willing to box them and then          13      bathroom?
       14      when she ran out of boxes, you know, bag them.              14   A. No.
       15   Q. And you didn't supervise the boxing and the bagging?        15   Q. Okay. And you testified that you had -- I think it
       16   A. I did not.                                                  16      was e-mails with Attorney Sharon McPhail on June 2nd,
       17   Q. Was anybody there when she was boxing and bagging?          17      correct?
       18   A. I don't know.                                               18   A. I know there was an exchange, I'm taking everyone's
       19   Q. Do you know if Ms. Anderson was there when Nicole           19      word for it that it was June 2nd, yeah.
       20      James was boxing and bagging?                               20   Q. Me too. In that conversation in June-ish with
       21   A. I'm pretty sure she was not there.                          21      Attorney McPhail, did Attorney McPhail tell you there
       22   Q. Was not there.                                              22      was a safe in the bathroom?
       23   A. And I say that because at that time, I was not in the       23   A. No.
       24      courtroom, I was just doing administrative                  24   Q. Okay. And the conversation that you had with
       25      responsibilities. So I believe while Nicole James was       25      Lieutenant Smith, was that on July 14th?


                                                                 Page 46                                                           Page 48
        1      doing the collecting and the boxing for me, I was in         1   A. No. It was sometime after July the 14th because he
        2      Ms. Anderson's office talking with her about                 2      informed me that a complaint, a police complaint had
        3      administrative matters. I can't, you know, I can't           3      been lodged by Judge James through her attorney,
        4      pull up --                                                   4      Mr. Thomas, regarding the safe.
        5   Q. Okay.                                                        5   Q. Okay. So it was after the July 14th?
        6   A. -- you know, chapter and verse, but I'm pretty sure          6   A. Yes.
        7      that was it because there was no other place for me to       7   Q. Okay. And then you said -- you testified that on
        8      be.                                                          8      July 15th, you received a document request from
        9   Q. Okay. So while Nicole was collecting and boxing, you         9      Attorney Thomas?
       10      and Ms. Anderson were in Ms. Anderson's office?             10   A. Yes.
       11   A. I believe that's correct, yes.                              11   Q. Do you recall if any of those document requests were
       12   Q. Okay. Do you know if Ms. Anderson ever prevented            12      related to documents from the safe?
       13      Judge James from getting her belongings or documents        13   A. I wouldn't know that.
       14      from her chambers?                                          14   Q. Okay.
       15   A. You mean other than through me?                             15   A. I don't know the basis for what he was asking for, all
       16   Q. Correct.                                                    16      I know, that we had this list of 25 items and we did
       17   A. Independent of me?                                          17      our best to comply with getting him what he was asking
       18   Q. Yes.                                                        18      for. So I guess flipping it around, nothing that we
       19   A. No.                                                         19      would have provided would have been in the safe
       20   Q. Do you know if Judge James was prevented from getting       20      because the safe was gone after July the 14th.
       21      any documents that she wanted from the chambers?            21   Q. Okay. And let me back up. The day that Nicole James
       22   A. On July the 14th or before that date?                       22      was boxing up items, did Nicole bring up the safe on
       23   Q. On July 14th.                                               23      that day?
       24   A. She was not prevented from -- anything she wanted was       24   A. No.
       25      open for her to take.                                       25   Q. Okay. So did -- and I think I know the answer to




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        1      these questions, but I'm going to ask them anyways for    1   A. I don't know who opened the safe.
        2      a clearer record. Did Sharon McPhail ever tell you        2   Q. Okay. Do you think Ms. Anderson would have any reason
        3      about the safe?                                           3      to open the safe?
        4   A. No.                                                       4   A. Nope.
        5   Q. Okay. Did Nicole James ever tell you there was a          5   Q. Okay. So who do you think opened the safe?
        6      safe --                                                   6   A. I think it was Gregory Hill.
        7   A. No.                                                       7   Q. And who's Gregory Hill?
        8   Q. -- in the bathroom?                                       8   A. Gregory Hill was an employee in the clerk's office,
        9   A. No.                                                       9      and as I understand his pedigree or his background, he
       10   Q. Did Pamela Anderson ever tell you about a safe in the    10      had been, I'll call him a very high up placed official
       11      bathroom?                                                11      in the City of Inkster Police Department. He was
       12   A. No.                                                      12      called to testify in a case, a civil case that was
       13   Q. And did anyone else ever tell you there was a safe in    13      brought against the City of Inkster and apparently
       14      the bathroom?                                            14      gave inconsistent testimony. I won't call it perjury
       15   A. No.                                                      15      because there's certain standards for perjury, but his
       16   Q. Until July 14th?                                         16      inconsistent testimony was called to the jury's
       17   A. No.                                                      17      attention and a substantial verdict was rendered
       18   Q. And did you have keys to the safe?                       18      against the City of Inkster.
       19   A. No.                                                      19               He was then fired from the police
       20   Q. Okay. Do you know if there's any other way to open       20      department because of his inconsistent testimony, and
       21      the safe, other than a key?                              21      it's my understanding that Judge James reached out to
       22   A. You can blow it up, you could pick the lock, you could   22      Mr. Hill and offered him employment in the clerk's
       23      jimmy it, I mean, anything in Hollywood and the          23      office. And when I arrived on April the 14, 2011, he
       24      writers tell me about is a way to get open a safe.       24      was employed in the clerk's office as a clerk. I
       25   Q. Okay.                                                    25      didn't know anything about him. I had never met him.


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        1   A. Do I personally know how to do it? No, I don't            1      I talked to all employees, talked to him privately
        2      personally know how to do it.                             2      about, you know, what we had to do and how we were
        3   Q. Okay. Do you know if -- do you know of anybody that       3      going to do it. It wasn't until sometime later that I
        4      had a key to the safe?                                    4      found out what I just have recited to you.
        5   A. No.                                                       5               So it wasn't my firsthand knowledge about
        6   Q. Okay. Do you know if Pamela Anderson had a key to the     6      his background, but, you know, people talk in
        7      safe?                                                     7      environments and, you know, I got through an indirect
        8   A. I do not.                                                 8      means and I don't recall who told me, his, what I'm
        9   Q. Okay. Do you know if Pamela Anderson had any other        9      going to call history/pedigree. And so the thing that
       10      way other than blowing it up, a way to open the safe?    10      confounded me, and now that I look back on it, I have
       11   A. Well, are you talking about the external doors or the    11      a different view than I had clearly initially, was
       12      internal door that's in Exhibit 2?                       12      that Gregory Hill would have never been in the
       13   Q. Let's do both.                                           13      courtroom with me. He was not a courtroom clerk. So
       14   A. Clearly someone jimmied the external doors.              14      whoever did what they did to the outer doors of the
       15   Q. Right.                                                   15      safe did it while I was in the courtroom. So it
       16   A. That's what called it to Mr. Thomas' attention and my    16      wouldn't have been the clerk who was in the courtroom
       17      attention frankly.                                       17      with me and I don't remember which one, but I know it
       18   Q. Okay.                                                    18      wasn't Gregory Hill. I knew it wasn't my court
       19   A. In terms of what was inside, I don't know. As I said,    19      officers, Bennett or Brown. And by process of
       20      I didn't see it in full view, I didn't look at it in     20      elimination, just in terms of my reading people, if
       21      full view, as far as I recall. All I remember seeing     21      anyone would have had the means, the opportunity, to
       22      was a portion of the metal door and a little bit of      22      go into the chambers and into the safe, it would have
       23      the combination dial.                                    23      been a male probably and Greg was the only other male
       24   Q. Okay. Do you think it was Ms. Anderson who opened the    24      there.
       25      safe?                                                    25               Now, the other thing that struck me about




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        1      the whole scene, if you will, is that in a burglary or    1      Because until that July 4th holiday I was only doing
        2      somebody who's looking for something, things are          2      administrative matters, so that to me is the window of
        3      askew, things are thrown around, they're disheveled,      3      opportunity that whoever broke in made use of.
        4      nothing like that occurred in my chambers, and in         4   Q. Okay. And from what you recall, Mr. Hill would have
        5      fact, as I said, I didn't even realize that there had     5       been there during that point in time?
        6      been what I'll call a breaking into the safe file         6   A. You mean employed there?
        7      cabinet until it was -- until I saw the door was askew    7   Q. Yes.
        8      and then, you know, again, I didn't connect the dots.     8   A. Yes.
        9      But then when it was described as a breaking in by        9   Q. Okay.
       10      Attorney Thomas, there was nothing, if you're looking    10                MS. WOJNAR-RAYCRAFT: I think that's all I
       11      for something in a safe, you're pulling things out,      11       have.
       12      you don't care where it's thrown, nothing like that      12                MR. FISHER: I just have -- go ahead, I'm
       13      was there. So to me it was somebody who knew what        13       sorry.
       14      they were looking for, knew how to get into the safe     14                MR. POWE: I have no questions, but go
       15      and got into the safe.                                   15       ahead.
       16   Q. Do you think that Mr. Hill would have known what the     16                    RE-EXAMINATION
       17      contents were in the safe?                               17   BY MR. FISHER:
       18   A. I think whoever broke into the safe knew what they       18   Q. I just have a very brief follow-up. Judge Washington,
       19      were looking for, yes.                                   19       regarding the Gregory Hill, you'd indicated that you
       20   Q. And whoever broke into the safe, what do you think       20       thought that he may have broken into the safe by
       21      they did with the contents of that?                      21       process of elimination because you knew the other
       22   A. Well, I wouldn't know. They either took it or didn't     22       folks were in the courtroom with you; is that correct?
       23      take it, but all I know is that because of what I'm      23   A. No. There was one other clerk in the courtroom.
       24      going to call the surgical nature of the break-in, it    24      Before that time, I had individual interviews with
       25      was someone who knew what they were looking for.         25      every single member of the clerk's staff. And just


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        1   Q. Okay. On the July 14th date --                            1      from that process of talking to people, looking at
        2   A. Yes.                                                      2      them, I formed, you know, a conclusion. Then when I
        3   Q. -- when Judge James was getting her items, the rest of    3      got the back story about Mr. Hill's background, that
        4      her items and Mr. Thomas pointed out to you that the      4      further added to my thought process about who may have
        5      safe had been opened, was Ms. Anderson there when         5      broken into the safe.
        6      Mr. Thomas pointed that out?                              6   Q. What was it about his back story that made you think
        7   A. I don't believe that she was because of the limited       7      that he may have broken into the safe?
        8      amount of space and the time of day. Remember, this       8   A. He lied under oath, he was impeached, he caused a huge
        9      was all after 5:00, and I remember Mr. Thomas and I       9      verdict to be imposed against his employer, the City
       10      being in the bathroom. I think he came out into the      10      of Inkster. That's not something that -- I mean it
       11      hallway to get me to show this to me at that time, and   11      wasn't a mistake, you know, people say oh, yeah, I
       12      I said, okay.                                            12      forgot about that. From what I understand, he said X
       13   Q. It was just the two of you?                              13      and it was Y. And when that impeachment took place,
       14   A. As far as I can recall, yes.                             14      the jury kind of reared back and thought oh, okay,
       15   Q. Okay.                                                    15      then there was substantial verdict that was rendered.
       16   A. There wouldn't have been space in the bathroom for       16   Q. Do you think he had motive to break into the safe,
       17      anybody else, that I can tell you.                       17      though?
       18   Q. Do you think that there is any time that Ms. Anderson    18   A. Do I think he had a motive?
       19      could have took any documents out of the safe?           19   Q. Yes.
       20   A. I have no way of knowing that. I mean, clearly when      20   A. Yeah, I do think he had a motive.
       21      I'm in the courtroom doing the court's business, I       21   Q. What do you think that was?
       22      can't tell what's going on in the chambers. You know,    22   A. I think this whole thing was orchestrated by Judge
       23      now that, now that we're talking about it, I think the   23      James, her and Mr. Hill orchestrated this break-in,
       24      window of when that was done had to be between           24      this so called break-in so that if, in fact, she was
       25      July 4th and July the 14th. Why do I say that?           25      bounced by the Tenure Commission, removed from the




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        1      bench, she would have a fallback position, i.e., my           1    Ms. Anderson, the only other person would have been
        2      personal property was violated, this terrible thing           2    Gregory Hill.
        3      happened to me and my rights were violated, that's            3            MR. FISHER: I don't have any further
        4      what I think happened. I really do.                           4     questions.
        5   Q. You indicated earlier that you weren't certain that           5            MS. WOJNAR-RAYCRAFT: I'm good.
        6      whether Pam Anderson was or was not -- did or did not         6            MR. POWE: We're all done.
        7      have access to the safe while you were in the                 7            MR. FISHER: Just E-Tran.
        8      courtroom; is that correct?                                   8            MS. WOJNAR-RAYCRAFT: E-Tran.
        9   A. Yes, that's true.                                             9            MR. FISHER: You can take exhibits.
       10   Q. So you can't say for sure that it wasn't Ms. Anderson?       10            MR. RATLIFF: We don't need one.
       11   A. Absolutely right.                                            11            MR. POWE: E-Tran, thank you.
       12               MR. FISHER: I have nothing further.                 12            (The deposition was concluded at 11:12 a.m.
       13                    RE-EXAMINATION                                 13         Signature of the witness was not requested by
       14   BY MS. WOJNAR-RAYCRAFT:                                         14         counsel for the respective parties hereto.)
       15   Q. I just have a follow-up on that. You testified that          15
       16      you think it was a male that probably opened the safe?       16
       17   A. Right.                                                       17
       18   Q. Why do you think that?                                       18
       19   A. Well, you had to have a certain amount of strength in        19
       20      order to -- you'd have -- first of all, you'd have to        20
       21      know what kind of tool to use to get underneath or get       21
       22      into an opening that would allow you to pry. Most            22
       23      males, you know, being a little sexist here, I'm not         23
       24      trying to be, but most males are familiar with tools,        24
       25      many women are not. So that is one factor that goes          25


                                                                  Page 58                                                        Page 60
        1      in. There was clearly some sort of tool used that             1              CERTIFICATE OF NOTARY
        2      pried the outer door open. And the other thing is             2   STATE OF MICHIGAN )
        3      strength, you know, I mean, I like Pam, but she was           3             ) SS
        4      nobody's Ms. America in terms of body building, and I         4   COUNTY OF WAYNE )
        5      would not have ascribed that kind of strength to her          5
        6      in terms of what would have been necessary to pry open        6               I, KATHRYN L. JANES, certify that this
        7      those doors.                                                  7      deposition was taken before me on the date
        8             MS. WOJNAR-RAYCRAFT: Okay, thank you.                  8      hereinbefore set forth; that the foregoing questions
        9                  RE-EXAMINATION                                    9      and answers were recorded by me stenographically and
       10   BY MR. FISHER:                                                  10      reduced to computer transcription; that this is a
       11   Q. I just have one more real quick one. You don't --            11      true, full and correct transcript of my stenographic
       12      you're not saying that it would be impossible if             12      notes so taken; and that I am not related to, nor of
       13      Ms. Anderson was interested in getting into the safe         13      counsel to, either party nor interested in the event
       14      that she could have had a person help her that may           14      of this cause.
       15      have had the strength if she did not have the                15
       16      strength?                                                    16
       17   A. Well, here's the point. You're asking me a lot of            17
       18      nots, so let me see if I can clarify it to answer your       18
       19      question. Whenever this was done, it would have been         19
       20      done during business hours and it would have been done       20
       21      while I was in the courtroom. Therefore the only             21
       22      person who could have gone in there, persons who could       22                KATHRYN L. JANES, CSR-3442
       23      have gone into the judges' chambers would have been          23                Notary Public,
       24      court employees. So by process of elimination, if            24                Wayne County, Michigan.
       25      you're going to ascribe this misconduct to                   25      My Commission expires: October 22, 2022




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